     Case 2:16-cv-06894-DDP-SS Document 1 Filed 09/14/16 Page 1 of 10 Page ID #:1




 1
     ABIR COHEN TREYZON SALO, LLP
     Boris Treyzon, Esq. (S.B.N: 188893)
 2   Yolanda M. Medina, Esq. (S.B.N: 222273)
 3
     1901 Avenue of the Stars, Suite 935
     Los Angeles, CA 90067
 4   Telephone (310) 407-7888
 5   Facsimile (310) 407-7915

 6

 7
     Attorneys for Plaintiffs, WENDY LITTLEFIELD
 8 and DARRYL LITTLEFIELD

 9

10

11                         UNITED STATES DISTRICT COURT
12         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
13

14 WENDY LITTLEFIELD, an individual,
                                           Case No.:
15 and DARRYL LITTLEFIELD, an
     individual,                           COMPLAINT FOR DAMAGES
16
                                               1. Negligence
17                 Plaintiffs,
                                               2. Strict Products Liability
18         vs.                                 3. Breach of Expressed and
19                                   Implied Warranties
   HOMELAND HOUSEWARES, L.L.C.,
20 a California Limited Liability

21 Corporation;                   DEMAND FOR JURY TRIAL
22                 Defendants.
23

24      Come now Plaintiffs, WENDY LITTLEFIELD                     and    DARRYL
25 LITTLEFIELD, and hereby allege as follows:

26                                     PARTIES
27         1.      Plaintiff WENDY LITTLEFIELD is an individual and a citizen/
28 resident of the State of Nevada.
                                          -1-
                                 COMPLAINT FOR DAMAGES
     Case 2:16-cv-06894-DDP-SS Document 1 Filed 09/14/16 Page 2 of 10 Page ID #:2




 1         2. Plaintiff DARRYL LITTLEFIELD is a citizen of the State of Nevada.
 2         3.    Plaintiffs WENDY LITTLEFIELD and DARRYL LITTLEFIELD at
 3 all times relevant herein were and continue to be husband and wife.

 4         4.    Defendant HOMELAND HOUSEWARES, LLC is a California
 5 Limited Liability Corporation with its principal office in Los Angeles, California.

 6         5.    Defendant HOMELAND HOUSEWARES, LLC manufactures and
 7 distributes the Magic Bullet, NutriBullet 900 Series, blending machine.

 8         6.    Defendant NUTRIBULLET, LLC is a California Limited Liability
 9 Corporation    with its principal office in Pacoima, California. Defendant
10 NUTRIBULLET, LLC is in the business of designing, marketing, selling and

11 distributing the Magic Bullet, NutriBullet 900 Series, blending machine.

12         7.    The true names, identities and capacities of those defendants designated
13 as DOES 1 through 10, inclusive, and each of them, are unknown to Plaintiffs, who

14 sue said defendants by such fictitiously designated names. Plaintiffs are informed

15 and believe and, on the basis thereof, allege that each of the Defendants designated

16 herein as a DOE was a California resident and in some way was legally responsible

17 for the events herein alleged. Plaintiff will seek leave of court to set forth the true

18 names, identities and capacities of defendants designated as DOES 1 through 10,

19 inclusive, when same has been ascertained.

20         8.    Plaintiffs are informed and believe and on the basis thereof alleges that
21 defendants and DOES 1 through 10, inclusive, and each of them were responsible

22 for the design, manufacturing, development, research, testing, inspection, mass-

23 production, advertisement, promotion, supply, distribution, sale, delivery and

24 labeling of the Magic Bullet, NutriBullet 900 Series, blending machine.

25 / / /

26 / / /
27 / / /

28
                                         -2-
                                COMPLAINT FOR DAMAGES
     Case 2:16-cv-06894-DDP-SS Document 1 Filed 09/14/16 Page 3 of 10 Page ID #:3




 1                            JURISDICTION AND VENUE
 2         9.    This Court has jurisdiction over this controversy pursuant to 28 U.S.C.
 3 Section 1332(a)(2) because the parties are completely diverse and the amount in

 4 controversy exceeds the $75,000.00 minimum jurisdictional requirement, exclusive

 5 of costs and attorney’s fees.

 6         10.     Venue is appropriate in this District pursuant to 28 U.S.C. Section
 7 1391(b)(1), as all defendants named herein are residents of the State of California,

 8 in which this district is located.

 9                             GENERAL ALLEGATIONS
10         11.   Plaintiff WENDY LITTLEFIELD purchased defendants’ Magic
11 Bullet, NutriBullet 900 Series, blending machine in the normal stream of commerce

12 (hereinafter referred to as “NutriBullet 900”) with the consent and permission,

13 implied or expressed, of each Defendant herein.

14         12.   That on January 21, 2016, Plaintiff WENDY LITTLEFIELD attempted
15 to use her NutriBullet 900, when it suddenly malfunctioned, causing severe injuries

16 to Plaintiff WENDY LITTLEFIELD’s right hand.

17         13.   Specifically Plaintiff WENDY LITTLEFIELD attempted to use the
18 NutriBullet 900 in the manner in which it was intended to be used by blending

19 canned tomatoes and beans.

20         14.   When WENDY LITTLEFIELD used the device, the machine exploded
21 in her hands in a manner that the rapidly spinning blades chopped into her hand,

22 causing severe nerve damage and lacerations.

23                             FIRST CLAIM FOR RELIEF
24                                       Negligence
25     (Plaintiff WENDY LITTLEFIELD as to all Defendants and DOES 1 – 10)
26         15.   Plaintiffs incorporates by reference all other paragraphs of this
27 complaint as if fully set forth herein.

28
                                          -3-
                                 COMPLAINT FOR DAMAGES
     Case 2:16-cv-06894-DDP-SS Document 1 Filed 09/14/16 Page 4 of 10 Page ID #:4




 1         16.      At all times relevant to this action, Defendants and DOES 1 – 10,
 2 inclusive, had a duty to exercise reasonable care, and to comply with the existing

 3 standards of care, in their preparation, design, research, development, manufacture,

 4 inspection, labeling, marketing, promotion and sale of the Magic Bullet, NutriBullet

 5 900 Series, blending machine, which Defendants and DOES 1 – 10 introduced into

 6 the stream of commerce, including a duty to ensure that users would not suffer from

 7 unreasonable dangerous accidents while using the machine.

 8         17.      At all times relevant to this action, Defendants and DOES 1 – 10 had a
 9 duty to warn all consumers of the NutriBullet 900 of the risks, dangers, and suitable

10 uses for the said machine.

11         18.      At all relevant times, Defendants and DOES 1 – 10, knew or reasonably
12 should have known that its NutriBullet 900 machines were unreasonably dangerous

13 and defective when used for its intended use, including but not limited to the

14 following particulars:

15         a) The NutriBullet 900 explodes upon using it for its intended use;
16         b) The NutriBullet 900 breaks when being used for its intended use, causing
17               lacerations and other damages to consumers’ hands.
18         c) That the warnings on the NutriBullet 900 are inadequate to alert the
19               consumer of the dangers in using said machine.
20         d) That the warnings accompanying the NutriBullet 900’s sales literature are
21               inadequate to alert the consumer of the dangers in using said machine.
22         e) The NutriBullet 900, when used as intended, causes injuries to consumers
23               using it.
24
           19.      At all relevant times Defendants and DOES 1 – 10 knew or reasonably
25
     should have known that the NutriBullet 900 was unreasonably dangerous and
26
     defective when used for its intended use.
27

28
                                           -4-
                                  COMPLAINT FOR DAMAGES
     Case 2:16-cv-06894-DDP-SS Document 1 Filed 09/14/16 Page 5 of 10 Page ID #:5




 1         20.   The product defects alleged above were substantial factors contributing
 2 to the cause of injuries and damages suffered by Plaintiff WENDY LITTLEFIELD.

 3         21.   The    injuries    and   damages   suffered   by   Plaintiff   WENDY
 4 LITTLEFIELD were the reasonably foreseeable results of Defendants’ negligence.

 5         22.   As a direct and proximate cause of the negligence of Defendants’ and
 6 DOES 1 – 10, inclusive, Plaintiff WENDY LITTLEFIELD suffered severe

 7 lacerations and nerve injuries to her right hand, suffers from the limited use of her

 8 hand, and is in severe pain, discomfort requiring surgeries for injuries and suffered

 9 severe emotional distress.

10         23.   As a direct and proximate cause of the negligence of Defendants’ and
11 DOES 1 – 10, Plaintiff WENDY LITTLEFIELD incurred medical and hospital bills

12 and will require future medical care for the injuries she sustained in an amount to be

13 determined, and has suffered past loss of earning and earning capacity and future

14 loss of earnings and earning capacity, in an amount to be determined.

15         24.   Plaintiff WENDY LITTLEFIELD prays for all general damages and
16 special damages as a result of the injuries she sustained from the NutriBullet 900.

17                           SECOND CLAIM FOR RELIEF
18                                 Strict Products Liability
19     (Plaintiff WENDY LITTLEFIELD as to all Defendants and DOES 1 -10)
20         25.   Plaintiffs incorporates by reference all other paragraphs of this
21 complaint as if fully set forth herein.

22         26.   Plaintiff WENDY LITTLEFIELD is in the class of persons that
23 Defendants and DOES 1 – 10, should reasonably foresee as being subject to harm

24 caused by the defectively designed NutriBullet 900 machines, as Plaintiff WENDY

25 LITTLEFIELD used said machine as it was intended to be used.

26         27.   Defendants and DOES 1 - 10, who are engaged in the business of
27 selling, manufacturing and supplying the NutriBullet 900 and placed it in the stream

28
                                            -5-
                                   COMPLAINT FOR DAMAGES
     Case 2:16-cv-06894-DDP-SS Document 1 Filed 09/14/16 Page 6 of 10 Page ID #:6




 1 of commerce in a defective and unreasonably dangerous condition such that

 2 foreseeable risks exceeded the benefits associated with the design of the product.

 3         28.   The NutriBullet 900 machine supplied to Plaintiff WENDY
 4 LITTLEFIELD was defective in design and manufacture and unreasonably

 5 dangerous when it left the hands of Defendants and DOES 1 – 10, and reached the

 6 user and consumer of the product, Plaintiff WENDY LITTLEFIELD, without any

 7 alteration in the condition in which it was sold.

 8         29.   The NutriBullet 900 machine manufactured and sold by Defendants,
 9 including its individual components, and DOES 1 - 10, were unreasonable and

10 dangerously defective beyond the extent contemplated by ordinary users of the

11 machine with ordinary knowledge.

12         30.   The NutriBullet 900 machine was defective due to inadequate warning
13 of the risks, dangers and prohibited uses of said machine.

14         31.   The product defects alleged above were substantial factors in causing
15 the injuries suffered by Plaintiff WENDY LITTLEFIELD to her hand.

16         32.   As a direct and proximate cause of the negligence of Defendants’ and
17 DOES 1 – 10, inclusive, Plaintiff WENDY LITTLEFIELD suffered severe

18 lacerations and nerve injuries to her right hand, the limited use of her hand, and is in

19 severe pain, discomfort requiring surgeries for injuries and suffered severe

20 emotional distress.

21         33.   As a direct and proximate cause of the negligence of Defendants’ and
22 DOES 1 – 10, Plaintiff WENDY LITTLEFIELD incurred medical and hospital bills

23 and will require future medical care for the injuries she sustained in an amount to be

24 determined, and has suffered past loss of earning and earning capacity and future

25 loss of earnings and earning capacity, in an amount to be determined.

26         34.   Plaintiff WENDY LITTLEFIELD prays for all general damages and
27 special damages as a result of the injuries she sustained from the NutriBullet 900.

28
                                          -6-
                                 COMPLAINT FOR DAMAGES
     Case 2:16-cv-06894-DDP-SS Document 1 Filed 09/14/16 Page 7 of 10 Page ID #:7




 1                            THIRD CLAIM FOR RELIEF
 2     Breach of Express and Implied Warranties and Warranty of Fitness for a
 3                                   Particular Purpose
 4      (Plaintiff WENDY LITTLEFIELD as to all Defendants and DOES 1-10)
 5         35.   Plaintiffs incorporates by reference all other paragraphs of this
 6 complaint as if fully set forth herein.

 7         36.   Plaintiffs are informed and believe that the NutriBullet 900 was
 8 conceived, designed, manufactured, developed, researched, tested, inspected, mass-

 9 produced, advertised, promoted, supplied, distributed, sold, delivered and labeled,

10 Magic Bullet, NutriBullet 900 for retail sale by Defendants and DOES 1 – 10 and

11 said Defendants and DOES 1 – 10, expressly and impliedly warranted to each owner

12 and user and to all persons reasonably expected to be within the immediate vicinity

13 of said product and its component parts during their use in an intended manner,

14 including Plaintiff WENDY LITTLEFIELD, that said NutriBullet 900 and its

15 component parts were reasonably fit and safe for use without inspection for defects

16 and were of merchantable quality throughout.

17         37.   Defendants and DOES 1 – 10 further implied and warranted that said
18 NutriBullet 900 would be safe for a particular purpose of allowing a person to chop,

19 blend and mix fruits and vegetables, safely under conditions reasonably foreseeable

20 to be related to its use, including the incident described herein.

21         38.   In reliance upon said warranties, Plaintiff WENDY LITTLEFIELD
22 used the NutriBullet 900 in a manner in which it was reasonably intended to be used

23 and as a direct and proximate result of the breach of said express and implied

24 warranties by defendants, and each of them, Plaintiff sustained the injuries and

25 damages described herein.

26         39.   That as a direct and legal result of such breach of implied and express
27 warranties, and the dangerous condition of the NutriBullet 900, as alleged herein,

28
                                         -7-
                                COMPLAINT FOR DAMAGES
     Case 2:16-cv-06894-DDP-SS Document 1 Filed 09/14/16 Page 8 of 10 Page ID #:8




 1 Plaintiff WENDY LITTLEFIELD sustained injury and damage, some or all of which

 2 is permanent in nature when the NutriBullet 900 malfunctioned during use. That as

 3 a direct and legal result thereof, Plaintiff is entitled to compensatory and general

 4 damages for pain, suffering, and emotional distress and disfigurement, all in an

 5 amount to be determined at the time trial herein.

 6         40.   As a direct and proximate cause of the breach of implied and express
 7 warranties by Defendants’ and DOES 1 – 10, inclusive, Plaintiff WENDY

 8 LITTLEFIELD suffered severe lacerations and nerve injuries to her right hand, the

 9 limited use of her hand, and is in severe pain, discomfort requiring surgeries for

10 injuries and suffered severe emotional distress.

11         41.   As a direct and proximate cause of the breach of implied and express
12 warranties by Defendants’ and DOES 1 – 10, Plaintiff WENDY LITTLEFIELD

13 incurred medical and hospital bills and will require future medical care for the

14 injuries she sustained in an amount to be determined, and has suffered past loss of

15 earning and earning capacity and future loss of earnings and earning capacity, in an

16 amount to be determined.

17         42.   Plaintiff WENDY LITTLEFIELD prays for all general damages and
18 special damages as a result of the injuries she sustained from the NutriBullet 900.

19                           FOURTH CLAIM FOR RELIEF
20                                  Loss of Consortium
21     (Plaintiff DARRYL LITTLEFIELD as to all Defendants and DOES 1 -10)
22         43.   Plaintiffs incorporates by reference all other paragraphs of this
23 complaint as if fully set forth herein.

24         44.   Plaintiff DARRY LITTLEFIELD, was at all times relevant hereto, and
25 now, the spouse of Plaintiff WENDY LITTLEFIELD.

26         45.   Plaintiff DARRYL LITTLEFIELD has been caused, presently and in
27 the future, to suffer the loss of his spouse’s companionship, services and society and

28
                                         -8-
                                COMPLAINT FOR DAMAGES
     Case 2:16-cv-06894-DDP-SS Document 1 Filed 09/14/16 Page 9 of 10 Page ID #:9




 1 the ability of Plaintiff DARRYL LITTLEFIELD has in those respects been impaired

 2 and depreciated, and the marital association between husband and wife has been

 3 altered.

 4         46.   That Plaintiff DARRYL LITTLEFIELD has lost the past and future
 5 reasonable    value of household services provided by Plaintiff WENDY
 6 LITTLEFIELD to the marital household as result of her injuries as alleged herein.

 7         47.   That Plaintiff DARRYL LITTLEFIELD suffered mental anguish as a
 8 result of watching his spouse, WENDY LITTLEFIELD get injured in his general

 9 presence.

10         48.   Plaintiff DARRYL LITTLEFIELD prays for all general damages and
11 special damages as a result of his wife WENDY LITTLEFIELD’s injuries as alleged

12 herein.

13         WHEREFORE, Plaintiffs pray for judgment against Defendants, and DOES
14 1 -10, and each of them, for each cause of action, as follows:

15         1.    For all special damages including, but not limited to, lost wages and
16 future earning capacity, reimbursement of medical bills, and the reasonable value of

17 the loss of household services.

18         2.    For all general damages including, but not limited to, damages for pain,
19 suffering, anguish, discomfort, severe emotional distress, disgust, terror, fright,

20 anger, anxiety, worry, nervousness, shock, anguish and mental suffering, loss of

21 enjoyment of life, loss of ability to engage in normal and customary activities, loss

22 of comfort, society, care and companionship;

23         3.    For other and further special damages in a sum according to proof at
24 the time of trial;

25         4.    For other and further general damages in a sum according to proof at
26 the time of trial;
27         5.    For costs of suit incurred herein;
28
                                         -9-
                                COMPLAINT FOR DAMAGES
     Case 2:16-cv-06894-DDP-SS Document 1 Filed 09/14/16 Page 10 of 10 Page ID #:10




 1          6.     For such other and further relief as the court deems just and proper.
 2 Dated: September 14, 2016                 TREYZON & ASSOCIATES, LLP
 3

 4
                                       By:   /s/ Boris Treyzon
                                             Boris Treyzon, Esq.
 5                                           Yolanda M. Medina, Esq.
 6
                                             Attorney for Plaintiffs

 7

 8
                                DEMAND FOR JURY TRIAL
 9
            Plaintiff WENDY LITTLEFIELD AND DARRYL LITTLEFIELD hereby
10
      demand a trial by jury on all causes of action.
11
      DATED: September 14, 2016 TREYZON & ASSOCIATES, LLP
12

13                                      By: /s/ Boris Treyzon
14                                           Boris Treyzon, Esq.
                                             Yolanda M. Medina, Esq.
15                                           Attorney for Plaintiffs
16

17

18

19

20

21

22

23

24

25

26
27

28
                                           - 10 -
                                  COMPLAINT FOR DAMAGES
